4:03-cr-03033-RGK-DLP        Doc # 102    Filed: 07/26/05     Page 1 of 1 - Page ID # 359




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )           4:03CR3033
                                            )
                    Plaintiff,              )
                                            )
       vs.                                  )           MEMORANDUM
                                            )           AND ORDER
EDUARDO MEDINA-PACHECO,                     )
                                            )
                    Defendant.              )

      This matter comes on to consider the government’s request for hearing on Rule 35(b)
motion (filing 101). Having considered the matter,

       IT IS ORDERED that:

       (1)   The government’s request for hearing on Rule 35(b) motion (filing 101) is
granted;

      (2)     A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 98) has been set before the undersigned United States district judge at
12:30 p.m., Monday, August 15, 2005, in Courtroom No. 1, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska;

       (3)  At the request of the defendant through his counsel, and with the agreement of
the government, the defendant may be absent from the hearing on the Rule 35 motion;

       (4)   The Marshal is directed not to return the defendant to the district; and

       (5)   The defendant is held to have waived his right to be present.

       July 26, 2005.                           BY THE COURT:

                                                s/ Richard G. Kopf
                                                United States District Judge
